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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 FRANK GARRISON and NOEL                      )
 JOHNSON,                                     )
                                              )
                Plaintiffs,                   )
                                              )
        v.                                    )       1:22-cv-01895-RLY-TAB
                                              )
 U.S. DEPARTMENT OF EDUCATION,                )
 et al.,                                      )
                                              )
                Defendants.                   )

               STIPULATED REQUEST TO ENTER BRIEFING SCHEDULE

        On October 10, Plaintiffs filed an amended complaint, ECF No. 23, a motion for a

 preliminary injunction, ECF No. 25, and a motion for a temporary restraining order, ECF No. 26.

 They challenge a federal student loan cancellation policy announced by the U.S. Department of

 Education. As Defendants have stated in a brief in another case, the Department will not discharge

 any student loan debt pursuant to the policy challenged in this case prior to October 23, 2022.

 Based on this representation, the parties hereby stipulate and agree to the following schedule for

 resolving Plaintiffs’ motions for a temporary restraining order and for a preliminary injunction:

       Defendants’ response in opposition is due Tuesday, October 18, 2022.

       Plaintiffs’ reply due is Wednesday, October 19, 2022.

        Based on the foregoing, the parties respectfully request that the Court enter the above

 schedule for resolving Plaintiffs’ pending emergency motion.

 Dated: October 12, 2022                              Respectfully submitted,




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                                    CERTIFICATE OF SERVICE

           I hereby certify that on October 12, 2022 I electronically filed the foregoing with the Clerk

 of the Court using the CM/ECF system, which will automatically serve a copy to all counsel of

 record.



                                                 /s/ R. Charlie Merritt
                                                 R. Charlie Merritt
